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                UNITED STATES DISTRICT COURT
                   DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA             :   TO BE FILED UNDER SEAL
                                     :
           v.                        :   Hon. Cathy L. Waldor
                                     :
MAKSIM BOIKO                         :                 9121
                                         Mag. No. 20-____
  a/k/a “GANGASS”                    :
                                     :   CRIMINAL COMPLAINT


      I, Kevin M. Conklin, being duly sworn, state the following is true and
correct to the best of my knowledge and belief:

                              SEE ATTACHMENT A

      I further state that I am a Special Agent with the Federal Bureau of
Investigation, and that this Complaint is based on the following facts:

                              SEE ATTACHMENT B

continued on the attached pages and made a part hereof.



                                      KMC (by phone)
                                     _______________________________
                                     Kevin M. Conklin, Special Agent
                                     Federal Bureau of Investigation

                                     Special Agent Conklin attested to this
                                     Affidavit by telephone pursuant to
                                     FRCP 4.1(b)(2)(A)

March 27, 2020 at _________
District of New Jersey

HONORABLE CATHY L. WALDOR                    s/Cathy L. Waldor 3/27/20 by telephone
                                            _______________________________
UNITED STATES MAGISTRATE JUDGE              Signature of Judicial Officer
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                                ATTACHMENT A

                        (Money Laundering Conspiracy)

      From at least as early as on or about March 13, 2017 through at least on
or about September 12, 2017, in the District of New Jersey and elsewhere,
defendant

                                MAKSIM BOIKO,
                                    a/k/a
                                 “GANGASS,”

did knowingly combine, conspire, and agree with other individuals to knowingly
conduct and attempt to conduct financial transactions affecting interstate and
foreign commerce, which transactions involved the proceeds of specified unlawful
activity, that is, wire fraud, knowing that the transactions were designed in whole
and in part to conceal and disguise the nature, location, source, ownership, and
control of the proceeds of specified unlawful activity, and that while conducting
and attempting to conduct such financial transactions, knew that the property
involved in the financial transactions represented the proceeds of some form of
unlawful activity, contrary to Title 18, United States Code, Sections
1956(a)(1)(B)(i).

      In violation of Title 18, United States Code, Section 1956(h).




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                                ATTACHMENT B

      I, Kevin M. Conklin, being first duly sworn, depose and state the following:

                                INTRODUCTION

      1.     I am a Special Agent with the Federal Bureau of Investigation (“FBI”).
I have been employed by the FBI as a Special Agent since February 2002. My
experience as an FBI agent has included the investigation of cases involving
money laundering, wire fraud, and the use of computers to commit such offenses.
I have received training and have gained experience in interview and interrogation
techniques, arrest procedures, search warrant applications, the execution of
searches and seizures, computer crimes, computer evidence identification,
computer evidence seizure and processing, and various other criminal laws and
procedures.

      2.     Since this Affidavit is submitted for the sole purpose of establishing
probable cause to support the issuance of a federal criminal complaint and arrest
warrant, I have not included each and every fact known by the Government
concerning this investigation. Except as otherwise indicated, the actions,
conversations, and statements of others identified in this Affidavit – even where
they appear in quotations – are reported in substance and in part. Similarly,
dates and times are approximations, and should be read as “on or about,” “in or
about,” or “at or about” the date or time provided.

                                   OVERVIEW

      3.     From at least as early as on or about March 13, 2017 through at least
on or about September 12, 2017, individuals both known and unknown
conspired to launder the proceeds of criminal activity, including Internet-enabled
financial fraud.

               INDIVIDUALS, ENTITIES, AND BANK ACCOUNTS

      4.    At various times relevant to this Complaint:

            a.   Defendant Maksim Boiko, a/k/a “Gangass” (“BOIKO”) was a
resident of Russia. BOIKO laundered criminal proceeds for cybercriminals.
BOIKO communicated with other cybercriminals by using encrypted
communication platforms that are designed to conceal correspondence. BOIKO
was a member of Verified, a prominent cybercrime forum.

             b.     “Person A” was a resident of Russia. Person A was a
cybercriminal who used various unidentified computer intrusion techniques to
gain access to sensitive banking information from business and individual
accounts. After he gained access to victim bank accounts, he coordinated
unauthorized bank transfers from the victim accounts to accounts that he or his
co-conspirators controlled. Person A further targeted victims with “flooding”
attacks to facilitate the unauthorized bank transfers. Flooding attacks are a type
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of “denial-of-service” attack in which actors overwhelm a victim’s computer
network or telephone line with a large volume of messages and/or calls, which
hinders the victims’ ability to respond to or disrupt a simultaneous cyber breach.

             c.    “Victim A” was a California business entity with a bank
account at a U.S.-based financial institution (“Financial Institution 1”).
Financial Institution 1 was a financial institution as defined under 18 U.S.C. §
1956(c)(6)(A) and 31 U.S.C. § 5312(a)(2).

             d.     The “Destination Bank Account” was a bank account at a
financial institution in China (“Financial Institution 2.”).

             e.    “Victim B” was a small business in Secaucus, New Jersey, that
maintained a credit card account at a U.S.-based financial institution (“Financial
Institution 3”). Financial Institution 3 was a financial institution as defined
under 18 U.S.C. § 156(c)(6)(A) and 31 U.S.C. § 5312(a)(2). As an account holder,
Victim B could electronically access information about its account through
Financial Institution 3’s password-protected online banking portal. Victim B
participated in Financial Institution 3’s customer loyalty rewards program, which
allowed customers to earn “points” that could be redeemed for gift cards or other
merchandise.

            f.   “Victim C” was a small business in Englewood Cliffs, New
Jersey, which maintained a bank account at Financial Institution 1.

                        THE GOAL OF THE CONSPIRACY

       5.   The goal of the conspiracy was to facilitate the “cashing out” of
criminal proceeds and to conceal from law enforcement and financial institutions
the criminal nature of the funds.

                               MANNER AND MEANS

      6.     On or about March 10, 2017, on the “Jabber” chat platform, 1 Person
A asked another individual (“Individual 1”) to be put in communication with
someone who could provide bank accounts and who could “cash out” funds.
Specifically, Person A stated: “[L]et this cashout guy contact me . . . hk/cn . . .
because we need accounts sometimes . . . it is better to have direct
communication.” 2 Based on my training and experience, “hk/cn” refers to Hong

1 “Jabber” is a protocol for creating real-time, text-based chat software, and it allows
users to create their own chat service hosted on computers that they choose. Jabber
account addresses look similar to email addresses with an account identifier preceding
the “@” symbol, followed by a domain address associated with the Jabber server.
Because Jabber accounts can be created and hosted by cybercriminals themselves, it is
often a favored method of communication for cybercriminals.
2The electronic communications reviewed in this Complaint took place in Russian, and
have been translated into English by the FBI. All translations are approximate.
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Kong and China, which are common destinations for funds obtained through
Internet-enabled fraud. In response, Individual 1 gave Person A contact
information for BOIKO. On or about March 13, 2017, Person A told another
associate, “I found a guy . . . hk/cn cashout is his.”

      7.     On or about March 13, 2017, BOIKO and Person A communicated
via Jabber. BOIKO stated, “hi, here.” Person A responded: “hi . . . write with
otr.” Based on my training and experience, “otr” means “off the record,” and
“write with otr” is an instruction to switch over to encrypted communication, so
that the communication would later be more difficult for law enforcement
authorities to review. On or about March 14, 2017, and March 16, 2017, BOIKO
and Person A communicated again via encrypted messaging on Jabber.

       8.     On or about March 20, 2017, at approximately 19:00 Coordinated
Universal Time (UTC), Person A asked BOIKO to quickly provide him with bank
account information. He stated, “hi urgent . . . what is going on with business
accounts . . . hurry up pls time is limited.” In response, at approximately 19:02
UTC, BOIKO stated that he already provided an account to Person A. Person A
recited information regarding a bank account, and BOIKO stated that that was a
“personal account.” At approximately 19:03 UTC, Person A replied: “give me
business pls . . . can you do it now . . . I only have 5-10 min.” Based on my
training and experience, compared to personal bank accounts, business bank
accounts are able to receive larger sums of stolen funds without raising the
suspicion of bank officials. Additionally, based on my training and experience,
persons who are stealing funds from bank accounts often have to act quickly to
transfer the money elsewhere, before the customer or banking institution detects
or is able to respond to the fraud.

      9.     At approximately 19:08 UTC, Person A provided detailed information
for the Destination Bank Account, including the accountholder name and
address, bank name, bank address, and bank account number.                   The
accountholder and bank address were both located in Hong Kong. Person A
stated “got it,” and a short while later, at approximately 19:20 UTC, wrote, “f---
ing did it.” BOIKO replied, “good.” Person A added, “I’ll let you know when they
approve.”

      10. During the same chat, Person A and BOIKO discussed the amount
of money that needed to be transferred and the balance in the victim’s bank
account. Person A referenced “about 200-300k,” which, based on my training
and experience, refers to approximately two hundred to three hundred thousand
dollars that needed to be transferred. Person A further stated, “I’ve sent around
300k,” to which BOIKO replied, “Wow… that’s a lot.” Person A also advised, “the
balance is only 600 there,” which, based on my training and experience, is an
estimate of how much money was in the victim’s bank account.

     11. Bank records obtained from Financial Institution 1 indicate that on
or about the same date, March 20, 2017, a wire transfer in the amount of
approximately $276,300.00 was initiated from Victim A’s bank account and was
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requested to be sent to the Destination Bank Account. Victim A’s account
balance was approximately $659,320. The date, transfer amount, balance
amount, and recipient account number involved in the attempted transfer all are
consistent with Person A’s and BOIKO’s conversation. Financial Institution 1
rejected the attempted transfer on suspicion of fraud.

      12. On or about March 21, 2017, Person A wrote to BOIKO, “it didn’t go
through, bro… I forgot to write you right away . . . they are f---ed up there . . .
they wanted to send a text message to a home phone number :D.” On or about
March 23, 2017, BOIKO wrote to Person A, “I already knew it didn’t work out.”

       13. In the same March 23, 2017 conversation, BOIKO wrote, in part, “do
you think the credentials are compromised or we can keep using them . . . . I
think all credentials are ok . . . the account is alive.” Person A wrote, in part, “it
won’t kill your credentials . . . but the same bank won’t work for me because it’s
on the [Financial Institution 1] blacklist.” BOIKO replied, “Ok, I’ll give, I have 1
more for you.” At the end of the chat, BOIKO told Person A that he would provide
him with yet another cash-out account. Based on my training and experience,
in this chat, BOIKO and Person A were discussing whether Financial Institution
1’s rejection of their attempted transaction would prevent them from continuing
to use the Destination Bank Account. They determined that BOIKO would
continue to be able to access the Destination Bank Account, but that Person A
would not be able to transfer funds there because Financial Institution 1 flagged
the account as fraudulent. Based on my training and experience, the chat also
demonstrated a clear understanding by BOIKO that the failed March 20, 2017
transaction was fraudulent.

       14. On or about March 27, 2017, BOIKO wrote to Person A, “OTRv2,” to
which Person A replied, “sec . . . not here.” As discussed above, based on my
training and experience, the reference to “OTR” was an instruction by BOIKO to
go “off the record,” i.e., to switch to encrypted communications.

       15. BOIKO and Person A remained in frequent communication. They
exchanged messages, predominantly encrypted messages, on or about the
following dates: March 28, 2017; April 18, 2017; April 27, 2017; May 9, 2017;
June 28, 2017; June 29, 2017; June 30, 2017; July 9, 2017; July 10, 2017; July
11, 2017; July 12, 2017; August 3, 2017; August 9, 2017; August 11, 2017;
August 14, 2017; August 15, 2017; August 22, 2017; August 23, 2017;
September 11, 2017; and September 12, 2017.

       16. On or about May 29, 2017, an unauthorized account user logged into
Victim B’s online banking account and redeemed Victim B’s customer loyalty
points. There is probable cause to believe that Person A perpetrated this attack
because on or about December 23, 2016, Victim B was previously targeted by a
“flooding” attack, during which an unauthorized digital wire of approximately
$184,290 was initiated from Victim B’s bank account. On or about the same
date, Person A sent an online message to another person containing Victim B’s
business address in Secaucus, New Jersey. Person A further referenced
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“184290$” which corresponds to the amount of the fraudulent wire. The May 29,
2017 intrusion was perpetrated in a similar manner, i.e., another flood attack.
The victim reported that he received thousands of new emails on his work email
address (the same email address that had been flooded in December 2016), and
that someone logged into his bank account and withdrew 79,000 corporate
points. Furthermore, in chats in January and February 2017, Person A
discussed the obtaining and transfer of corporate “points,” such as hotel reward
points and frequent flyer miles, associated with compromised accounts, which
was consistent with the redemption of Victim B’s customer loyalty points.

       17. On or about June 27, 2017, BOIKO provided Person A with a virtual
currency address. From in or about October 2014 until in or about October 2019,
that virtual currency address moved over 1,200 bitcoin (which, at the time of the
deposits, were worth over approximately $6,500,000).

       18. On or about July 5, 2017, Person A had a Jabber chat with an
associate. Person A referenced the name of Victim C, as well as the name of its
president. The associate responded, in part, “where do you flood phones, on just-
kill.cc.” 3 Person A responded, “yes.”

      19. On or about the same date, July 5, 2017, the president of Victim C
reported an unauthorized wire of approximately $219,785.00 from its business
bank account to a bank account in Hong Kong.

      20. Finally, BOIKO’s Instagram and Apple iCloud accounts include
photographs of him with substantial sums of U.S. and foreign currencies dating
back as far as 2015. Based on my training and experience, the unexplained
wealth depicted in the photographs is consistent with illegal money laundering.
Furthermore, a photograph posted to BOIKO’s Instagram account on or about
August 25, 2015, shows a large stack of Chinese Yuan on a table, next to a sign
that reads, in part, “Maksim” (BOIKO’s first name), which is consistent with
BOIKO laundering money through Chinese bank accounts, as reviewed above.

       21. Law enforcement has determined that the chats reviewed above were,
in fact, attributable to BOIKO.

             a.    A search warrant subsequently executed on an email account
associated with BOIKO revealed that he possessed a financial transaction record
related to the Destination Bank Account, which confirms that he was in control
of that account.

             b.    The search further revealed that BOIKO was in receipt of a
registration confirmation for an online account in the name “Gangass.”




3
 Just-kill.cc is a phone and email flooding service used to perpetrate denial of service attacks to victims
during fraudulent transfers.
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             c.    Additionally, the investigation revealed that a BTC-e 4 account
was registered under the name “Maksim Boiko,” the username “gangass,” and
the email address “plinofficial@me.com.” The data from BTC-e showed that
BOIKO’s account had received $387,964 worth of deposits and had withdrawn
approximately 136 Bitcoin. Records provided by Google showed that an email
address with the same account name, plinofficial@gmail.com, was registered in
the name Maxim BOIKO. Furthermore, a screenshot sent between BOIKO’s
phone number (ending in -0504) and another person showed a login to a website
with the username “gangass.” Google records also showed that a Facebook
account registered under the email account “plinofficial@gmail.com” was
registered in the name Maxim BOIKO.

            d.  Finally, a search of an iCloud account associated with BOIKO
revealed that BOIKO was “friends” with Individual 1, i.e., the person who
introduced BOIKO to Person A.

                                   CONCLUSION

      For the foregoing reasons, there is probable cause to believe that BOIKO
engaged in the offense of Money Laundering Conspiracy, contrary to Title 18,
United States Code, Section 1956(a)(1)(B)(i), in violation of Title 18, United States
Code, 1956(h).




4 BTC-e was a virtual currency exchange website that was seized by law enforcement in
2017 in connection with the website’s involvement in the exchange of criminally-derived
funds.
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